      Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 1 of 18




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS

                                              4:22-cv-290
                                   Case No. _______________

 PREPARED FOOD PHOTOS, INC. f/k/a
 ADLIFE MARKETING &
 COMMUNICATIONS CO., INC.,

        Plaintiff,

 v.

 RR USA INVESTMENTS LLC,
 d/b/a DON JAVIER MEAT MARKET &
 TAQUERÍA,

        Defendant.


                                           COMPLAINT

       Plaintiff Prepared Food Photos, Inc. f/k/a Adlife Marketing & Communications Co., Inc.

(“Plaintiff”) sues defendant RR USA Investments LLC, d/b/a Don Javier Meat Market & Taquería

(“Defendant”), and alleges as follows:

                                          THE PARTIES

       1.      Plaintiff is a corporation organized and existing under the laws of the State of

Florida with its principal place of business located in Palm Beach County, Florida.

       2.      Defendant is a limited liability company organized and existing under the laws of

 the State of Texas with its principal place of business located at 13526 Tidwell Road, Ste 500,

 Houston, Texas 77044-1552. Defendant’s Agent for Service of Process is Javier H. Valdivieso-

 Perry, 3611Barton Lane, Sugar Land, Texas 77479.

                                JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§



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      Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 2 of 18




1331 and 1338(a).

        4.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a).

        5.       This Court has personal jurisdiction over Defendant because it is a citizen and

resident of Texas and because it maintained sufficient minimum contacts with Texas such that the

exercise of personal jurisdiction over it would not offend traditional notions of fair play and

substantial justice.

        6.       Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a) because

Defendant or its agents reside or may be found in this district. “It is well established that, for

purposes of Section 1400(a), a defendant ‘may be found’ in any district in which it is subject to

personal jurisdiction.” Isbell v. DM Records, Inc., No. 3:02-CV-1408-G, 2004 U.S. Dist. LEXIS

10394, at *41 (N.D. Tex. June 4, 2004) (“Because the court has determined that it has

personal jurisdiction over DM, DM ‘may be found’ in this district and venue is therefore proper.”).

                                                 FACTS

I.      Plaintiff’s Business

        7.       Plaintiff is in the business of licensing high-end, professional photographs for the

food industry.

        8.       Through its commercial website (www.preparedfoodphotos.com), Plaintiff offers

a monthly subscription service which provides access to/license of tens of thousands of

professional images.

        9.       As of the date of this pleading, Plaintiff charges its clients (generally, grocery

stores, restaurant chains, food service companies, etc.) a monthly fee of $999.00 for access to its

library of professional photographs.


                                                     2
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      Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 3 of 18




       10.     Plaintiff does not license individual photographs or otherwise make individual

photographs available for purchase. Plaintiff’s business model relies on its recurring monthly

subscription service such that Plaintiff can continue to maintain its impressive portfolio.

       11.     Plaintiff owns each of the photographs available for license on its website and

serves as the licensing agent with respect to licensing such photographs for limited use by

Plaintiff’s customers. To that end, Plaintiff’s standard terms include a limited, non-transferable

license for use of any photograph by the customer only. Plaintiff’s license terms make clear that

all copyright ownership remains with Plaintiff and that its customers are not permitted to transfer,

assign, or sub-license any of Plaintiff’s photographs to another person/entity.

II.    The Work at Issue in this Lawsuit

       12.     In   1997,    a    professional      photographer       created     a   photograph   titled

“RawChickenTender005_ADL” (the “Work”). A copy of the Work is exhibited below.




       13.     The Work was registered by Plaintiff (pursuant to a work-for-hire agreement with

the author that transferred all rights and title in the photograph to Plaintiff) with the Register of


                                                    3
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       Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 4 of 18




Copyrights on January 23, 2017 and was assigned Registration No. VA 2-046-891. A true and

correct copy of the Certification of Registration pertaining to the Work is attached hereto as

Exhibit “A.”

          14.    Plaintiff is the owner of the Work and has remained the owner at all times material

hereto.

III.      Defendant’s Unlawful Activities

           15.   Defendant owns and operates meat market, grocery store, and taqueria in Houston,

 Texas.

           16.   Defendant advertises/markets its business primarily through its aforementioned

 website           (https://donjaviermeatmarket.com/),                 social            media     (e.g.

 https://www.facebook.com/donjaviermeatmarket/?ref=page_internal), and other forms of

 advertising.

          17.    On a date after Plaintiff’s above-referenced copyright registration of the Work,

Defendant          published         the         Work           on         its          Facebook   page

(https://www.facebook.com/donjaviermeatmarket/photos/) in connection with the sale of

“Chicken Tenders”:




                                                     4
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      Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 5 of 18




       18.        A true and correct copy of screenshots of Defendant’s website, displaying the

 copyrighted Work, is attached hereto as Exhibit “B.”

       19.        The foregoing display of the Work on Defendant’s website was accessible and was

in fact accessed from persons in the State of Florida.

       20.        Defendant is not and has never been licensed to use or display the Work. Defendant

never contacted Plaintiff to seek permission to use the Work in connection with its Facebook

page/advertising or for any other purpose – even though the Work that was copied is clearly

professional stock photography that would put Defendant on notice that the Work was not intended

for public use.

       21.        Defendant utilized the Work for commercial use – namely, in connection with the

marketing of Defendant’s business and sale of chicken tenders.

                                                      5
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         Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 6 of 18




          22.   Upon information and belief, Defendant located a copy of the Work on the internet

and, rather than contact Plaintiff to secure a license, simply copied the Work for its own

commercial use.

          23.   Through its ongoing diligent efforts to identify unauthorized use of its photographs,

Plaintiff first discovered Defendant’s unauthorized use/display of the Work in approximately

October of 2020. Following Plaintiff’s discovery, Plaintiff notified Defendant in writing of such

unauthorized use. To date, Plaintiff has been unable to negotiate a reasonable license for the past

infringement of her Work.

          24.   All conditions precedent to this action have been performed or have been waived.

                         COUNT I – COPYRIGHT INFRINGEMENT

          25.   Plaintiff re-alleges and incorporates paragraphs 1 through 24 as set forth above.

          26.   The Work is an original work of authorship, embodying copyrightable subject

matter, that is subject to the full protection of the United States copyright laws (17 U.S.C. § 101 et

seq.).

          27.   Plaintiff owns a valid copyright in the Work, having registered the Work with the

Register of Copyrights and owning sufficient rights, title, and interest to such copyright to afford

Plaintiff standing to bring this lawsuit and assert the claim(s) herein.

          28.   As a result of Plaintiff’s reproduction, distribution, and public display of the Work,

Defendant had access to the Work prior to its own reproduction, distribution, and public display

of the Work on its commercial website.

          29.   Defendant reproduced, distributed, and publicly displayed the Work without

authorization from Plaintiff.

          30.   By its actions, Defendant infringed and violated Plaintiff’s exclusive rights in


                                                     6
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      Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 7 of 18




violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and publicly

displaying the Work for its own commercial purposes.

       31.      Defendant’s infringement was willful as it acted with actual knowledge or reckless

disregard for whether its conduct infringed upon Plaintiff’s copyright. Notably, Defendant

protects its copyrighted material on its website by publishing a copyright management notice,

“Copyright © 2021 Don Javier Meat Market - All Rights Reserved” which asks others to respect

its intellectual property rights. Therefore, Defendant clearly understands that high-end food

photography is not generally available for free or that such can simply be copied from the internet.

       32.      Plaintiff has been damaged as a direct and proximate result of Defendant’s

infringement.

       33.      Plaintiff is entitled to recover its actual damages resulting from Defendant’s

unauthorized use of the Work and, at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b), Plaintiff

is entitled to recover damages based on a disgorgement of Defendant’s profits from infringement

of the Work, which amounts shall be proven at trial.

       34.      Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

       35.      Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its costs and

attorneys’ fees as a result of Defendant’s conduct.

       36.      Defendant’s conduct has caused and any continued infringing conduct will continue

to cause irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no adequate

remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent injunction

prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

       WHEREFORE, Plaintiff demands judgment against Defendant as follows:


                                                     7
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      Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 8 of 18




   a. A declaration that Defendant has infringed Plaintiff’s copyrights in the Work;

   b. A declaration that such infringement is willful;

   c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

       Plaintiff’s election, an award of statutory damages for willful infringement up to

       $150,000.00 for each infringement of the Work;

   d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

   e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

   f. Permanently enjoining Defendant, its employees, agents, officers, directors, attorneys,

       successors, affiliates, subsidiaries and assigns, and all those in active concert and

       participation with Defendant, from directly or indirectly infringing Plaintiff’s copyrights

       or continuing to display, transfer, advertise, reproduce, or otherwise market any works

       derived or copied from the Work or to participate or assist in any such activity; and

   g. For such other relief as the Court deems just and proper.

                                       Demand For Jury Trial

Plaintiff demands a trial by jury on all issued so triable.

Dated: January 28, 2022.


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 By: /s/ Daniel DeSouza______
         Daniel DeSouza, Esq.




                                                     8
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Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 9 of 18
Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 10 of 18
Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 11 of 18
Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 12 of 18
Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 13 of 18
Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 14 of 18
Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 15 of 18
Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 16 of 18
Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 17 of 18
Case 4:22-cv-00290 Document 1 Filed on 01/28/22 in TXSD Page 18 of 18
